










NO. 07-08-0166-CV

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL A

SEPTEMBER 22, 2008
______________________________

STATE FARM MUTUAL AUTOMOBILE INSURANCE
COMPANY AND MEGAN CHEN, APPELLANTS

V.

BRENDA SMITH, APPELLEE
_________________________________

FROM THE 153RD DISTRICT COURT OF TARRANT COUNTY;

NO. 153-218821-06; HONORABLE KEN CURRY, JUDGE
_______________________________


Before CAMPBELL and HANCOCK and PIRTLE, JJ.
MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Before us is the joint motion of appellants State Farm Mutual Automobile Insurance
Company and Megan Chen and appellee BrendaSmith stating that the parties have
reached a full settlement of the underlying case.  The parties ask us, according to their
agreement, to vacate the judgment of the trial court and render a judgment that appellee
take nothing with trial and appellate costs taxed against the party incurring them.  We will
grant the motion.  Accordingly, pursuant to the agreement of the parties and without regard
to the merits, we vacate the trial court’s judgment and render judgment that appellee
Brenda Smith take nothing on her claim against appellants State Farm Mutual Automobile
Insurance Company and Megan Chen.  Costs in this Court and the trial court, according
to the agreement of the parties, are taxed against the party incurring them.  See Tex. R.
App. P. 42.1(a)(2)(A).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Having disposed of this appeal at the request of the parties, we will not entertain a
motion for rehearing and our mandate shall issue forthwith.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;James T. Campbell

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice











